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11
12                      IN THE UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   FEDERAL TRADE COMMISSION                Case No. SACV 19-02109 JVS (ADSx)
15
          Plaintiff                          Assigned to Hon. James V. Selna
16                                           Courtroom 10C
17   v.
                                             CAREY G. HOWE, RUDDY PALACIOS,
18   AMERICAN FINANCIAL SUPPORT              AND SHUNMIN HSU’S (1)
     SERVICES INC., et al.                   PRELIMINARY OPPOSITION TO OSC
19                                           WHY INJUNCTION SHOULD NOT
20        Defendants                         ISSUE AND (2) REQUEST TO EXTEND
                                             THE DEADLINE TO FILE THE
21                                           INSTANT RESPONSIVE PLEADING
22                                           AND ENLARGE THE BRIEF PAGE
                                             LIMIT TO 30 PAGES
23
24                                            Date:       November 18, 2019
                                              Time:       3:00 p.m.
25                                            Location:   Courtroom 10C
26
27
28


               PRELIMINARY OPPOSITION TO OSC RE: PRELIMINARY INJUNCTION
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 1 I.      Introduction.
 2         The FTC’s (a) heavy-handed shutdown of a legitimate business employing 150
 3 people and serving ongoing consumer needs; and (b) freezing of both corporate and
 4 individual assets, without notice, based on flawed evidence and shaky legal support was
 5 improper and should not be extended. The FTC’s voluminous under seal ex parte
 6 Application1 seeks three forms of extraordinary relief against moving parties Carey Howe,
 7 Shunmin Hsu, and Ruddy Palacios (collectively, the “Arete Individuals”), Arete,2 and the
 8 other named defendants, namely, (1) an injunction, (2) an asset freeze, and (3) a receiver,
 9 all under Section 13(b).3 In doing so, the FTC falsely claims that such drastic relief was
10 appropriate.
11         The FTC asserts that defendants, including the Arete Individuals and Arete, are
12 making ongoing misrepresentations regarding student debt relief services offered by Arete
13 and other companies who are lumped together without adequate reason or differentiation.
14 The Court granted the Application the day it was filed and set an order to show cause
15 (“OSC”) why a preliminary injunction should not issue “enjoining the violations of law
16 alleged in the Complaint, continuing the freeze of [defendants’] Assets, [and] continuing
17 the receivership.”4
18         The FTC is not entitled to any of the relief it seeks both as a matter of law and fact.5
19
20
21   1
       The “Application” refers collectively to the FTC’s Ex Parte Application for Temporary
22   Restraining Order with Asset Freeze, Appointment of a Temporary Receiver and Other
     Equitable Relief, and Order to Show Cause Why a Preliminary Inunction Should Not Issue,
23   the memorandum in support, and supporting evidence filed and lodged with the Court. Dkt
24   Nos. 1–36.
     2
       “Arete” as used herein refers collectively to defendants Arete Financial Group and Arete
25   Financial Group LLC.
     3
26     “Section 13(b)” refers to Title 15 U.S.C. § 53(b).
     4
       OSC 29:17–18.
27   5
       The Arete Individuals file this preliminary opposition under time constraints, given that
28   they were only served with the papers on November 6. Accordingly, they reserve the right
     to supplement their opposition as necessary.
                                                    1
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 1         First, the plain text of Section 13(b) gives the FTC limited authority to enjoin
 2 conduct. It does not allow other forms of equitable relief, such as asset freezes and
 3 receiverships. The Seventh Circuit confirmed this three months ago based on Supreme
 4 Court precedent holding that courts cannot read broader forms of equitable relief into
 5 Section 13(b) that are not specifically noted. Likewise, the Ninth Circuit holds that when a
 6 statute lists only injunctive relief to the exclusion of other equitable remedies, a court cannot
 7 read other remedies into the statute. Together, these cases make clear that the FTC does
 8 not have authority to seek asset freezes or receiverships.
 9         Moreover, the FTC does not offer competent evidence supporting injunctive relief
10 against Arete or the Arete Individuals. The FTC seeks to enjoin conduct related to Arete’s
11 student loan business; however, that aspect of Arete’s business was shuttered in the
12 summer. Within days, the receiver was able to confirm this, yet he still has not allowed
13 Arete to resume operations. Moreover, most of the alleged misrepresentations the FTC
14 cites in its Application occurred months or years ago. The few recent alleged incidents
15 (which are themselves several months old) are disputed, equivocal, and even self-
16 contradictory. Regardless, the evidence that the FTC offers does not show that the Arete
17 Individuals or Arete “[are] violating, or [are] about to violate, any provision of law
18 enforced by the Federal Trade Commission,” which is necessary for injunctive relief.
19 Consequently, the FTC cannot show a likelihood of success on the merits.
20         An asset freeze is equally improper. The FTC seeks to extend a broad asset freeze to
21 satisfy a potential “restitution” award; however, restitution is not an available equitable
22 remedy. Even if it were available, the FTC would have to demonstrate that the Arete
23 Individuals and Arete are likely to intentionally dissipate assets by hiding or sheltering them
24 from collection efforts, which it has not done. The freeze request is also fatally flawed
25 because it is not narrowly tailored. Rather, the FTC seeks to also encumber assets related
26 to Arete’s ongoing debt settlement business—which comprises 90% of Arete’s revenue and
27 has not been shown to have engaged in any wrongdoing.
28

                                                    2
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 1           A receivership is the least defensible of the FTC’s requests. The FTC’s purported
 2 basis for a receiver is to obtain information regarding assets, to identify other defendants,
 3 and to secure documents.6 None of those reasons justifies a receiver. First, Section 13(b)
 4 does not explicitly authorize such a remedy, and therefore it is unavailable. Second, the
 5 FTC has no property interest in any defendant entity, which is a prerequisite to seeking a
 6 receiver. Rather, the FTC is a regulatory agency that has, in effect, seized a private business
 7 without just compensation, in contravention of the Constitution’s taking clause. Third, the
 8 FTC offers no evidence that there is no remedy less drastic than a receivership (such as a
 9 monitorship)—another showing that it must make. Of course, there are far less drastic
10 remedies than a receiver to obtain information, namely, civil discovery under the Federal
11 Rules of Civil Procedure, which litigants use every day to obtain information from each
12 other. Finally, there is no evidence that the receiver, a lawyer, is equipped to run Arete, a
13 going concern. Indeed, the receiver has effectively closed down Arete, tipping the balance
14 of equities firmly on the side of the Arete Individuals who can demonstrate severe and
15 ongoing harm.
16           Indeed, the harm in granting relief, particularly as to an asset freeze or a receiver, far
17 outweighs the harm in denying relief. Before the receiver effectively shut down Arete, the
18 company was an active business focused on consumer debt settlement. As of last week,
19 Arete was serving approximately 38,000 customer credit accounts on behalf of 7,700 debt
20 settlement clients and employed approximately 150 people, 143 of whom work on debt
21 settlement services. Each day, Arete settles approximately 80 accounts for its customers,
22 meaning that every week of non-operation imperils 560 unmanaged accounts. Now that it
23 can no longer serve its customers, the company’s future is endangered, Arete employees’
24 jobs are jeopardized, and Arete’s current customers will not be serviced. Consequently, if
25 the injunction continues, it will have a potentially devastating impact on Arete customers
26 and Arete employees. On the other hand, there is no harm in denying an injunction because,
27 as discussed below, Arete withdrew from the student loan consulting business before the
28
     6
         Memo 29:3–5.
                                                      3
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 1 FTC’s complaint, thus mooting any alleged need for drastic prejudgment relief.
 2         Accordingly, the Court should deny the FTC’s request for a preliminary injunction
 3 and other equitable relief.
 4 II.     Statement of relevant facts.
 5         A.     Procedural posture.
 6         On November 4, 2019, the FTC filed this action under seal and requested an ex parte
 7 temporary restraining order (“TRO”) freezing assets and appointing a receiver. The FTC’s
 8 ex parte request was accompanied by a 30-page memorandum supported by 11 volumes of
 9 exhibits, a compact disc containing 151 minutes of recordings, and other lodged materials.
10 The court issued the TRO that same day. Two days later, the FTC arrived at Arete’s
11 premises, served the Arete Individuals boxes of documents, and took control over Arete
12 from the Arete Individuals. The company was handed over to a receiver, who ceased its
13 operations. The case remained sealed until at least the end of the day on November 8, 2019,
14 and the Arete Individuals did not have access to any of Arete’s records until permission was
15 granted by the receiver on November 12, 2019. Declaration of Garrison Giali (“Giali
16 Decl.”) ¶ 2.
17         The Arete Individuals promptly retained counsel who reached out to the FTC and the
18 receiver to request that (1) the operations of Arete be restarted so as not to jeopardize its
19 150 employees and the company’s debt settlement customers; and (2) be given access to
20 Arete records in order to prepare an opposition to the TRO and request for preliminary
21 injunction. Declaration of Ariana Seldman Hawbecker (“Hawbecker Decl.”) ¶ 2. During
22 a call on November 10, 2019, counsel for the Arete Individuals explained that Arete ceased
23 marketing its student loan business and that the company’s operations were focused on
24 consumer debt settlement. Id. ¶ 3. The Arete Individuals’ counsel further explained that
25 Arete’s student loan revenues flowed through different payment gateways, which would
26 make it easy for the receiver to separate the consumer debt business from the student loan
27 services business. Id. ¶ 3. The FTC refused the Arete Individuals’ request to immediately
28 restart Arete’s operations under the financial supervision of the receiver until the matter

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 1 could be further considered by the Court. Id. ¶ 4. While the FTC and the receiver agreed
 2 to consider a request for the Arete Individuals to obtain access to records to prepare a
 3 response to the TRO, the earliest date promised was November 12, 2019. Id. ¶ 4. The Arete
 4 Individuals were granted access to information on that day and are filing this response
 5 promptly thereafter.7
 6         B.     Arete’s history.
 7         The Arete Individuals founded Arete in 2017 and together control 60% of the
 8 company.8 Declaration of Ruddy Palacios (“Palacios Decl.”) ¶ 2. Arete’s aim was to help
 9 overwhelmed consumers deal with their debt burdens. Id. ¶ 3. The areas where the Arete
10 Individuals saw great need was in helping consumers (1) navigate and manage their student
11 loan debt burden and (2) reduce their unsecured debt (primarily credit card balances that
12 continued to grow in situations where consumers could afford to pay no more than the
13 minimum payment). Carey G. Howe (“Howe Decl.”) ¶ 2.
14         While Arete’s business centered around offering services to help reduce, lighten, or
15 manage debt burdens, the services provided to individuals with student loan debt were
16 separate from those offered to consumers with consumer debt because student loan
17 servicers, unlike unsecured credit companies, do not have the power to reduce debts owed.
18 Id. ¶ 3.
19         C.     Arete’s student loan consulting services.
20         While student loans, unlike consumer debt, are not-negotiable, there are several set
21 programs that student loan debtors can apply for to modify or suspend their payments.
22 Howe Decl. ¶ 4. Because some consumers are unaware of the various programs offered by
23
     7
24     While the circumstances merit giving the Arete Individuals additional time to respond to
     the FTC’s Motion, each additional day without operations puts Arete’s business in peril.
25   Therefore, Arete does not want to continue the hearing date. However, Arete styles this
26   motion as a Preliminary Opposition and may request the Court grant it additional time to
     submit additional opposition materials as they are collected.
27   8
       While there are two functioning Arete entities, the Arete Individuals have identical
28   interests in each. Palacios Decl. ¶ 2. The primary operating entity is Arete Financial Group,
     LLC. Id.
                                                    5
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 1 the Department of Education, their requirements, and how to apply, Arete marketed its
 2 student loan services to help individuals with student loan debt navigate these options. Id.
 3 ¶ 4. Those services involved informing student loan debtors of the various programs
 4 available to better manage their student loan debt, assessing their qualifications for certain
 5 programs, assisting customers in preparing and submitting required forms, and ensuring
 6 ongoing annual required recertifications. Id. In exchange for its consulting and processing
 7 services, Arete charged an initial fee along with a monthly maintenance fee, the latter of
 8 which was designed to ensure that its customers could reassess any change in circumstances
 9 and annually recertify their status with the Department of Education. Id.
10         D.     The FTC’s evidence is stale and does not reflect Arete’s current business.
11         In or around April 2019, the Arete Individuals decided to withdraw from the student
12 loan advisory business. Howe Decl. ¶ 5. Arete announced this change to its employees and
13 ceased marketing its student loan debt consulting business shortly thereafter by: (1)
14 completely shutting down its student loan consulting business website; (2) ceasing to solicit
15 those services; (3) cutting ties with affiliates who directed student loan customers to it; and
16 (4) laying off or retraining employees to focus on the consumer debt side of the business.
17 Id. The only student loan debt customers remaining are those who were signed up prior to
18 the winding down of that business. Id.
19         The evidence offered by the FTC relates to alleged marketing several months to years
20 old. For example, the FTC submitted a video its investigator purportedly recorded of the
21 website aretefinancialfreedom.com on February 7, 2019. PX23, ¶45 and Att. OO. That
22 website, devoted to Arete’s former student loan business, was shut down and, for several
23 months, anyone who tried to access that site was redirected to aretefinancial.org. Id. ¶ 5;
24 Giali Decl. ¶ 3. Similarly, Attachment SS to the FTC investigator’s declaration contains
25 purported screenshots from the shuttered aretefinancialfreedom.com site that are more than
26 six months old.       PX23 ¶ 47, Attach. SS.        By contrast, Arete’s current website at
27 aretefinancial.org focuses solely on debt settlement services and makes no mention of
28 student loan services. Giali Decl. ¶ 4.

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 1          Similarly, the FTC offers screenshots from aretefin.com from April. PX23 ¶ 48,
 2 Attach TT. This website is also no longer operational. Howe Decl. ¶ 6; Giali Decl. ¶ 4
 3 (confirming a 404 Error Notice when the site is visited). In sum, contrary to the evidence
 4 submitted by the FTC, Arete no longer markets a student loan consulting business, has no
 5 sales or marketing employees working in that area, and the only customers remaining in
 6 that business are those who enrolled several months ago. To the extent those customers
 7 continue to pay nominal monthly service fees Arete charged for its student loan services,
 8 the processing of those fees is entirely separate from Arete’s consumer debt settlement
 9 business. Howe Decl. ¶ 7. Moreover, the revenue from those fees represents only about
10 10% of Arete’s monthly revenue. Id.
11         E.    Arete was an active business servicing thousands of customers until it was
12               abruptly shut down by the receiver.
13         Since its founding in mid-2017 through the time of the asset freeze last week, Arete
14 helped thousands of customers renegotiate their debt burdens and establish manageable
15 monthly payment plans. Palacios Decl. ¶ 3. Arete has settled over 15,000 credit accounts
16 for its customers since its founding. Id. Historically, Arete’s average customer has
17 unsecured credit balances of approximately $40,000 spread over six different accounts.
18 The average term of customers enrolled in the debt settlement program is approximately
19 36-months. Id.
20         As of last Wednesday, when the Arete Individuals were shut off from Arete’s
21 operations, Arete was serving approximately 38,000 customer credit accounts on behalf of
22 7,700 debt settlement clients and employed approximately 150 people, 143 of whom work
23 on debt settlement services. Id. ¶ 4. Each day, Arete settled approximately 80 accounts for
24 its customers, meaning that every week of non-operation imperils about 560 consumer
25 credit accounts that Arete cannot manage due to the freeze. Id. Indeed, Arete is informed
26 that the disruption caused by the receiver’s involvement has already spurred panic among
27 Arete customers.
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 1         Until Arete was essentially seized by the FTC based on faulty evidence, it had an “A”
 2 rating from the Better Business Bureau and overwhelmingly positive reviews. Giali Decl.
 3 ¶ 5. Now that it can no longer serve its customers, that rating has changed to “NR,”
 4 imperiling the company’s future. Id. ¶ 6.
 5         Arete’s debt settlement programs works as follows.          First, Arete gathers its
 6 customers’ unsecured debts and explains that it can help those consumers negotiate debt
 7 reduction and estimates for the consumer for a fixed monthly payment, and an estimated
 8 term to settle all enrolled unsecured debt. Palacios Decl. ¶ 5. Assuming the consumer
 9 decides to use Arete’s services, the consumer next signs up with a third party, Debt Pay
10 Gateway (“DPG”), to collect monthly payments in its dedicated custodial account. Id.
11 Arete then negotiates a reduction of its customers debts (often at 50% of the debt amount
12 owed) with each of their customers’ creditors and works out a proposed payment plan that
13 is consistent with their customers’ ability to pay. Id. As consideration for this service, the
14 customer agrees to pay a percentage of the negotiated debt reduction to Arete. Id. So, for
15 example, if Arete negotiates a debt on behalf of a consumer from $10,000 to $5,000, the
16 customer agrees to pay 15-25% of that debt amount that was settled ($1,500 to 2,500) to
17 Arete resulting in an estimated savings to the consumer of $2,500 to $3,500. Id. Arete does
18 not collect that fee for the debt until after Arete has received a settlement agreement from
19 the creditor on behalf of the consumer, and at least one payment has been made to the
20 creditor with whom Arete settled on behalf of the client. Id.
21         DPG, an independent, FDIC insured third party custodial trust provider collects
22 Arete’s customer’s monthly payments from its debt settlement clients. Id. ¶ 5. After Arete
23 shows DPG proof that it has negotiated a credit reduction and payment plan on an account
24 via a “settlement letter,” DPG sends the first negotiated payment to the customers’ creditors,
25 and it sends Arete the agreed upon fee for negotiating down that debt. Id. Thus, Arete
26 does not collect any monies from consumers and is only paid after it has negotiated a
27 reduction in the consumer’s debt and the consumer begins payment on those debts.
28

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 1           F.     Arete’s debt settlement proceeds flow through a different payment
 2                  system than its student loan services payments and there is no connection
 3                  between Arete’s debt settlement business operations and other defendant
 4                  companies.
 5           Arete’s student loan customers, using credit cards, paid for Arete’s services first via
 6 payment processing vendors World Pay and vPay. Howe Decl. ¶ 8. The processing of
 7 those payments is arranged by defendants CBC Conglomerate, LLC and La Casa Bonita
 8 (collectively, “CBC”). Id. ¶ 8. Arete has no connection with defendants American
 9 Financial Support Services, Inc., US Financial Freedom Center, Inc. or Jay Singh
10 (collectively “AFSS”) beyond the fact that Arete used CBC to process student loan services
11 payments. Id. The Arete Individuals have no ownership or control over AFSS. Id.
12           After student loan customers paid World Pay and vPay, those entities transferred
13 those fees into Arete’s operating account at Bank of America ending in -9321.9 Id. ¶ 9. By
14 contrast, Arete’s debt settlement earnings (which, as explained above are processed through
15 third party DPG) are primarily transferred from DPG into an Arete Bank of America
16 account ending in -9334.10 Id. ¶ 10. In sum, Arete’s debt settlement proceeds flow through
17 a different system than its student loan services payments that are separate and apart from
18 the other defendant companies operating student loan consulting services.
19           G.     The receiver has confirmed that Arete is no longer marketing a student
20                  loan consulting business.
21           Even with less than a week to study Arete’s business, the receiver has confirmed that
22 several months ago Arete “shifted out of the student loan business . . . and [is] focused
23 primarily on the consumer debt settlement business . . . .” Hawbecker Decl. Ex. 1 (11/12/19
24 McNamara letter admitting that his authority does not extend to Arete’s consumer debt
25 relief business). He further admits that his authority does not extend to that business. Id.
26 Nevertheless, he has not allowed the Arete Individuals to re-start that business.
27
     9
28       See, e.g., Howe Decl. Ex. 1 (October statement for that account).
     10
          See, e.g., Howe Decl. Ex. 2 (October statement for that BoFA account account).
                                                     9
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 1 III.       There are no viable grounds for injunctive and other equitable relief against the
 2            Arete Individuals and Arete.
 3            The FTC seeks broad equitable relief that includes (1) “conduct relief,” (2) “an asset
 4 freeze,” and (3) “a temporary receiver [with] immediate access to Defendants’ premises.”
 5 Memo 25:11–13. The FTC cites Section 13(b)11 as the sole authority for such far-reaching
 6 and extraordinary equitable remedies. Memo 16:11–12. As discussed below, Section 13(b)
 7 only permits injunctive relief—not other forms of equitable relief, such as asset freezes and
 8 receiverships. Even assuming Section 13(b) allowed the broad remedies the FTC seeks
 9 here, however, the FTC has failed to demonstrate with competent evidence that it is entitled
10 to such drastic relief against the Arete Individuals and Arete.
11            A.    There is no basis to enjoin the Arete Individuals and Arete due to a
12                  current or impending violation, i.e., “conduct relief.”
13            Section 13(b) grants the FTC authority to seek an injunction (1) against a party that
14 “is violating, or is about to violate, any provision of law enforced by the Federal Trade
15 Commission” and (2) and where relief “would be in the interest of the public.” 15 U.S.C.
16 § 53(b) (emphasis added). The language in Section 13(b) “is unambiguous; it prohibits
17 existing or impending conduct.” Fed. Trade Comm'n v. Shire ViroPharma, Inc., 917 F.3d
18 147, 156 (3d Cir. 2019) (emphasis added). Thus, “Section 13(b) does not permit the FTC
19 to bring a claim based on long-past conduct without some evidence that the defendant ‘is’
20 committing or ‘is about to’ commit another violation.” Id. In granting injunctive relief, (1)
21 courts must consider the FTC’s likelihood of success and (2) the balance of the equities
22 must favor injunctive relief. 15 U.S.C. § 53(b).
23            The FTC asserts that the Arete Individuals and Arete are currently violating FTC
24 regulations and, therefore, the FTC is entitled to an order enjoining further violations.
25 Memo 18:6 (“Defendants are violating Section 5 of the FTC Act”), 20:5 (“Defendants are
26 violating the TSR”). The FTC is wrong. The Arete Individuals and Arete are not currently
27 violating, or about to violate, any of those provisions.
28
     11
          “Section 13(b)” refers to Title 15 U.S.C. § 53(b).
                                                     10
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 1                1.   The FTC has not demonstrated a likelihood of success because it
 2                     does not demonstrate that the Arete Individuals and Arete are
 3                     currently violating, or about to violate, Section 5 of the FTC Act.
 4         The FTC claims that all “Defendants,” including the Arete Individuals and Arete, are
 5 violating Section 5 of the FTC Act by making “four false or unsubstantiated claims to
 6 induce consumers to purchase their student loan debt relief services.” Memo 19:2–3. The
 7 FTC’s “evidence” fails to show that Arete Individuals or Arete are making, or going to
 8 make, any such misrepresentations in the future.
 9                     a.     There is no evidence that Arete is currently telling, or about
10                            to tell, consumers that it is “affiliated” with the Department
11                            of Education.
12         According to the FTC, the “Defendants represent that they are affiliated with ED or
13 one of its authorized servicers.” Memo 19:4–5. The FTC’s “evidence” of this seemingly
14 unequivocal assertion, as to Arete, is six consumer declarations cited at footnote 6 of the
15 Memo. A review of these declarations reveals, however, that the purported evidence against
16 Arete falls short of the FTC’s claims and there simply is no evidence against Arete
17 Individuals.
18         For instance, the six supposed incidents of “misrepresentation” span a period three
19 years (March 2016 through March 2019). See PX1 (May 2018), PX4 (March 2016), PX6
20 (February 2019), PX15 (December 2017), PX16 (March 2019), PX17 (December 2017).
21 Yet only two declarants testify as to calls that occurred this year—one in February 2019
22 and the other in March 2019. The February 2019 declarant claims that Arete said it “could
23 work with the DOE to consolidate my nine loans into one loan with a 240-month term” and
24 that it “would work with DOE to get me on a ‘pay as you earn’ plan.” PX6 ¶ 5 at 145–46.
25 Likewise, the March 2019 declarant claims that Arete said it “would work with my loan
26 servicer and the DOE to reduce my student loan payments.” PX16 ¶ 2 at 446. None of
27
28

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 1 these statements amounts to a representation that Arete is affiliated with the Department of
 2 Education or is one of its servicers, as the FTC claims.12
 3         Second, the FTC ignores the unambiguous text of Arete’s two-page contract that was
 4 forwarded to its customers. The contract is written in plain English and contains no claim
 5 whatsoever that Arete is “affiliated” with the Department of Education. In fact, the very
 6 first paragraph in the contract disclaims the notion of such an “affiliation”:
 7
 8                Arete Financial LLC provides document processing and support
                  services to Clients applying for a Federal Student Loan
 9
                  Consolidation with the DOE. Arete Financial LLC will provide
10                (a) a review of the Client’s current financial situation; (b) analyze
                  and review available Federal Student Loan Consolidation
11
                  programs offered by the DOE based on Client’s current financial
12                situation; (c) following Client’s selection of a program, compile
                  information and submit on the Client’s behalf a Federal Student
13
                  Loan Consolidation application with the DOE (the “services”).
14
15 PX1 Attach. B at 8.13
16         Finally, as discussed above, Arete has withdrawn from its student loan consulting
17 business. Accordingly, the FTC has presented no evidence that Arete is currently, or will
18 imminently, tell customers that it is “affiliated” with the Department of Education or its
19 servicers to justify extraordinary injunctive relief. See F.T.C. v. Evans Prod. Co., 775 F.2d
20 1084, 1087 (9th Cir. 1985) (the “view that § 13(b) cannot be used to remedy past violations
21 is supported by the statutory language” because “[t]he FTC may only seek a temporary
22
23   12
        The FTC also claims in footnote 6 that Arete misleads consumers into believing that it is
24   “affiliated” with the FTC by claiming on its website that it is “the enrolling agency who
     submits your application with the Department of Education.” Memo 2:26–27 fn. 6. Of
25   course, the plain words of text clearly do not state that. Worse still, the FTC omits the
26   remainder of the quoted sentence from the website, which clearly states that “your loan
     servicer still holds your loans,” thus contradicting the FTC’s claim. See PX 23 Attch. TT.
27   13
        Moreover, Arete maintained recordings of its calls confirming that its customers
28   understood the transactions. As an example, a true and correct recording of Arete’s call
     with PX6, Shawn Ecrody, will be lodged as Exhibit 3 to the Howe Declaration.
                                                   12
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 1 restraining order or a preliminary injunction when it believes a person ‘is violating, or is
 2 about to violate’ any law enforced by the FTC”).
 3                      b.    There is no evidence that Arete is currently telling, or about
 4                            to tell, consumers that it will reduce student loans to a specific
 5                            lower amount.
 6         As to Arete, the FTC points to nine declarations to support its claim that the company
 7 “represent[s] that they enroll consumers in government loan programs that will reduce
 8 monthly payments to a specific lower amount, or reduce or eliminate student loan
 9 balances.” Memo 19:6–10, 3:6–9, fn.9. One of these incidents dates to 2016 (PX4), four
10 date to 2017 (PX9, PX15, PX17, PX19) and two date to 2018 (PX1, PX12). Thus, only two
11 of these incidents of alleged “misrepresentation” occurred in 2019, one in February (PX6)
12 and the other in March (PX16). An examination of the 2019 declarants’ testimony again
13 reveals that the FTC lacks the evidence to back its assertions.
14         As discussed above, , the declarant claims that in a February 2019 call Arete stated it
15 “could work with the DOE to consolidate my nine loans into one loan with a 240-month
16 term” and that Arete “would work with DOE to get me on a ‘pay as you earn’ plan,” but
17 there is no assertion regarding the representations about the amount of the monthly payment
18 after consolidation. PX6 ¶ 5 at 145. The declarant ultimately declined to pursue any
19 agreement with Arete, stating that he “[took] action to terminate [his] contract with that
20 company before [he] paid them” a fee. PX6 ¶ 9 at 147.
21         Likewise, the declarant purporting to report on a March 2019 call with Arete states
22 that, after conversing with an Arete representative, declarant mistakenly believed a $799
23 fee he paid to Arete would reduce his student loan payment to $23 a month. PX16 ¶ 5 at
24 447. But Arete’s two-page contract, which is attached to the declaration, unambiguously
25 states in plain English that: (1) “Client agrees to pay Arete Financial LLC a Service fee of
26 $799.00 for providing the Services”’ (2) “[t]he Service fee will only be earned after Client
27 is approved for a program through DOE”; and (3) “[i]f Clients’s Federal Student Loan
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 1 application is not approved for a program through DOE, Arete Financial LLC will
 2 reimburse 100% of all Client’s fees collected.” PX16 Attach. B at 452 (emphasis added).
 3         Even if Arete had not withdrawn from its student loan consulting business, the unripe
 4 evidence offered by the FTC fails to demonstrate that Arete is currently violating, or about
 5 to violate, FTC regulations, particularly given that the FTC can only point to two equivocal
 6 and contradictory complaints against Arete in 2019—the latest of which is eight months
 7 old.
 8                      c.    There is no evidence that Arete is currently telling, or about
 9                            to tell, consumers that their monthly fee payments reduce
10                            their student loans.
11         The FTC next claims that “Defendants represent that they apply most or all of
12 consumers’ monthly fee payments toward consumers’ student loans.” Memo 19:11–12. As
13 to Arete, the FTC points to five consumer declarations, none of which relate to any calls
14 from 2019. Memo 5:19–24 fn.25 (PX1 [2018], PX4 (2016), PX12 [2018], PX15 [2017],
15 PX17 [2017]). Moreover, the declarant’s misrepresentation claims are belied by Arete’s
16 simple three-page contract, which clearly explains that the service fees are for Arete’s
17 “document processing and support services to Clients applying for a Federal Student Loan
18 Consolidation with the DOE,” including “a review of the Clients financial situation” to
19 “analyze and review available Federal Student Loan Consolidation programs offered by the
20 DOE based on Client's current financial situation.” See, e.g., PX1, Attch. B at ¶¶ 1, 4.
21                      d.    There is no evidence that Arete is currently telling, or about
22                            to tell, consumers that it will “assume responsibility” for their
23                            loans.
24         Finally, the FTC claims that “Defendants represent that they will assume
25 responsibility for servicing consumers’ loans.” Memo 19:13–14. As to Arete, the FTC
26 points to three consumer declarations that ostensibly supports its assertion. Memo 6:24–25
27 fn.30. Again, the FTC cites to purported incidents in prior years, two from 2017 (PX15,
28 PX17) and one from 2018 (PX2). Id. And again, the FTC fails to demonstrate that Arete

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 1 is currently violating, or about to violate, FTC regulations.
 2               2.     Similarly, the FTC has not demonstrated a likelihood of success by
 3                      showing that the Arete Individuals and Arete are currently
 4                      violating, or about to violate, the TSR.
 5         The FTC also asserts that “Defendants’ ongoing conduct also violates three
 6 provisions of” Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, and the
 7 Telemarketing Sales Rule (“TSR”), including “(1) the advance fee ban, (2) the prohibition
 8 on misrepresenting affiliation, and (3) the prohibition on material debt relief
 9 misrepresentations.” Memo 20:6–8. Here again, there is no evidence against Arete
10 Individuals or Arete are violating, or about to violate, the TSR.
11                      a.    There is no evidence that Arete is currently violating, or about
12                            to violate, regulations regarding advance fees before service.
13         The FTC states that “[t]he TSR prohibits debt relief services telemarketers from
14 requesting or receiving fees before they successfully renegotiate, settle, or reduce at least
15 one of a consumer’s debts,” and “Defendants admit that they charge a fee before working
16 on consumers’ files,” pointing to footnote 148 as the purported evidence of this admission.
17 Yet the document referenced in the footnote contains no such concession as to the Arete
18 Individuals or Arete. Memo 20:9–12 fn.148.
19         Rather, the document appears to be a response to a complaint against a separate
20 entity, 1File.org, not Arete. See PX23 p.1464–65. Even so, the complaint is mistakenly
21 directed at 1File.org. Id. (stating that the complaining party “states she was contacted by
22 1File.org to consolidate her student loans,” but “[s]he is very mistaken, because we never
23 contacted her regarding her student loans”). Nevertheless, the FTC has taken a single
24 unsubstantiated and mistaken complaint against a completely different entity as “evidence”
25 of wrongdoing by the Arete Individuals and Arete. The document simply does not represent
26 what the FTC claims it does.
27         Worse still, the FTC states, in circular fashion, a purported “lack[] [of] evidence”
28 that defendants La Casa Bonita Investments, LLC and US Financial Freedom Center, Inc.

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 1 previously have complied with regulations is, in itself, affirmative evidence that all
 2 defendants (including Arete) engaged in wrongdoing. See Memo fn.149.
 3         Again, the FTC has presented no evidence against the Arete Individuals or Arete, and
 4 the evidence it has presented falls far short. Moreover, Arete’s two-page contract clearly
 5 states that Arete’s “Service fee will only be earned after Client is approved for a program
 6 through DOE,” thus contradicting the FTC’s claim Arete “charge[s] a fee before working
 7 on consumers’ files.” PX2 Attach. A at 52.14
 8                      b.    There is no evidence that Arete is currently violating, or about
 9                            to   violate,   regulations    regarding    statements    about
10                            “affiliation” with the Department of Education.
11         The FTC states that “[t]he TSR makes it a deceptive practice for a telemarketer to
12 misrepresent its affiliation with, or endorsement or sponsorship by, any person or
13 government entity,” and “Defendants routinely inform consumers that they work directly,
14 or are affiliated with, ED, when in fact they have no relationship with ED or its contracted
15 servicers.” Memo 21:1–5. As discussed above, the FTC has failed to show that either the
16 Arete Individuals or Arete is currently claiming affiliation with the Department of
17 Education. Moreover, those assertions are inconsistent with the evidence offered by the
18 FTC’s own investigators, which demonstrate that Arete clearly disclaimed affiliation with
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     Even if the FTC demonstrates, and the court accepts following a hearing with competent
27 evidence, that Arete’s ongoing collection of a monthly service fee is improper (which it has
28 failed to do) the proper remedy would be to issue an order enjoining them from collecting
   those fees, not the broader order requested by the FTC.
                                                 16
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 1 the DOE. See Declaration of Laureen France, PX23, Attachment OO.15 There is no
 2 evidence that Arete is currently violating, or about to violate, regulations regarding debt
 3 relief.
 4           Finally, the FTC states that “[t]he TSR prohibits telemarketers from misrepresenting
 5 any material aspect of any debt relief service, including the amount of money that
 6 consumers may save,” and “Defendants’ material misrepresentations that violate Section 5
 7 . . . also violate the TSR.” Memo 21:6–9. Again, as discussed above, the FTC has failed
 8 to show that either the Arete Individuals or Arete is currently violating these prohibitions
 9 either.
10           B.    The equities do not favor injunctive relief.
11           Until the receiver effectively shut down Arete, the company was an active business
12 focused on consumer debt settlement. Arete has settled over 15,000 credit accounts for its
13 customers since its founding in mid-2017. As of last week, when the Arete Individuals
14 were shut off from its operations, Arete was serving approximately 38,000 customer credit
15 accounts on behalf of 7,700 debt settlement clients and employed approximately 150 people
16 (143 of whom work on debt settlement services). Each day, Arete settles approximately 80
17 accounts for its customers, meaning that every week of non-operation imperils the 560
18 accounts unmanaged accounts. Until Arete was essentially seized by the FTC, it had an
19 “A” rating from the Better Business Bureau. Now that it can no longer serve its customers,
20 that rating has changed to “NR,” imperiling the company’s future and jeopardizing the jobs
21
     15
22     The video that is part of this attachment makes it clear that Arete’s only assists in helping
     consumers understand the DOE’s various programs: “When you talk to one of our student
23   loan specialists, they’ll help you determine which federal assistance program you qualify
24   for and help you apply”; “Our mission is to educate you about all the repayment options
     that loan servicers may not have informed you of”; we “will help map out a plan that works
25   for you”; “we will work with your lenders” “prepare documents” and submit them for you;
26   “to be clear, we do not negotiate your student loan debt.” Id. That is, the site clearly set
     forth the services Arete offered (helping customers understand the various programs to deal
27   with student debt) and clearly disclaimed any role in negotiating student loans. Moreover,
28   the website aretefin.com clearly disclosed that Arete was not part of, and did not represent,
     a government agency, and described the services provided. See PX23, Attach. TT.
                                                   17
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 1 of Arete’s employees. Consequently, if the injunction continues, it will have a potentially
 2 devastating impact on Arete customers and Arete employees.
 3         On the other hand, there is no harm in denying an injunction because, as discussed
 4 above, Arete has withdrawn from the student loan business. Indeed, even the receiver has
 5 confirmed that Arete “shifted out of the student loan business . . . and [is] focused primarily
 6 on the consumer debt settlement business . . . .” Hawbecker Decl. Ex. 1. The FTC’s
 7 “evidence” in support of the TRO further confirms this, given that most of the alleged
 8 wrongdoing occurred several months to years ago. Even the most recent examples of
 9 alleged wrongdoing are stale, given the fact that Arete shuttered its student loan business
10 well before the FTC filed its complaint.
11         In short, there is no basis to continue an injunction that will adversely impact Arete’s
12 current debt settlement customers, ruin Arete’s business, and result in 150 employees losing
13 their jobs.
14 IV.     Supreme Court and Ninth Circuit precedent postdating cases relied upon by the
15         FTC show that the FTC does not have authority under Section 13(b) to freeze
16         assets or appoint a receiver.
17         The plain language of Section 13(b) limits the Court’s exercise of equitable remedies
18 solely to injunctive relief. 15 U.S.C. § 53. Nevertheless, the FTC asserts that Section 13(b)
19 allows asset freezes and equitable receivers, citing F.T.C. v. H. N. Singer, Inc., 668 F.2d
20 1107 (9th Cir. 1982) and F.T.C. v. U.S. Oil & Gas Corp., 748 F.2d 1431 (11th Cir. 1984)
21 for support. Memo fns. 187, 200. The FTC’s reliance on these cases is misplaced.
22         As discussed below, courts have criticized prior case law permitting broad equitable
23 relief not explicitly authorized by Section 13(b). Moreover, where, as here, a statute limits
24 equitable remedies solely to injunctive relief, courts cannot imply broader forms of
25 equitable relief in contravention of the statute’s plain text, according to Supreme Court and
26 Ninth Circuit cases postdating Singer and U.S. Oil & Gas. Consequently, the FTC does not
27 have authority to obtain asset freezes and receiverships under Section 13(b) as a matter of
28 law. But even if the FTC were not barred from seeking such extraordinary relief, it has

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 1 failed to demonstrate that either form of devastating relief is warranted against the Arete
 2 Individuals and Arete.
 3         A.    Courts do not have authority to grant broad forms of equitable relief not
 4               explicitly authorized by Section 13(b).
 5         The 1982 Singer case relied upon by the FTC states that “Congress, when it gave the
 6 district court authority to grant a permanent injunction against violations of any provisions
 7 of law enforced by the Commission, also gave the district court authority to grant any
 8 ancillary relief necessary to accomplish complete justice because it did not limit that
 9 traditional equitable power explicitly or by necessary and inescapable inference,” thus
10 “provid[ing] a basis [under Section 13(b)] for an order freezing assets.” Singer, 668 F.2d
11 at 1113. U.S. Oil & Gas Corp. relied on Singer to conclude that Section 13(b) allows the
12 appointment of receivers. Oil & Gas Corp., 748 F.2d at 1432, 1434 (stating that “[t]his
13 Court agrees with Singer’s interpretation of § 13(b)” and holding that a “district court has
14 the inherent power of a court of equity to grant ancillary relief, including freezing assets
15 and appointing a receiver, as an incident to its express statutory authority to issue a
16 permanent injunction under Section 13 of the Federal Trade Commission Act”).
17         Binding Supreme Court and Ninth Circuit authority in the intervening thirty-plus
18 years since Singer and U.S. Oil & Gas casts serious doubt on reading such broad equitable
19 relief into Section 13(b). The Seventh Circuit recently held that the only form of equitable
20 relief permitted under Section 13(b) is injunctive relief in Fed. Trade Comm'n v. Credit
21 Bureau Ctr., LLC, 937 F.3d 764 (7th Cir. 2019).
22         There, the court explained the “trail” of cases permitting broader equitable remedies
23 under Section 13(b) “start[ed]” with Singer, yet Singer’s analysis is “cursory.” Id. at 777.
24 Nevertheless, “Singer sparked a line of appellate cases holding that section 13(b) is a broad
25 grant of equitable authority,” including “[t]he Eleventh Circuit,” which “followed Singer’s
26 lead two years later” in U.S. Oil & Gas. Id. Indeed, the Seventh Circuit itself “was next”
27 when it “simply quoted language from Singer and noted that [it] had ‘no reason to disagree
28 with the conclusion of our colleagues of the Ninth and Eleventh Circuits.’” Id. Building on

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 1 these cases, the Seventh Circuit, in F.T.C. v. Amy Travel Serv., Inc., 875 F.2d 564 (7th Cir.
 2 1989), “adopted [an] expansive formulation [of equitable power], holding that section
 3 13(b)’s statutory grant of authority to the district court to issue permanent injunctions
 4 includes the power to order any ancillary equitable relief necessary to effectuate the
 5 exercise of the granted powers.” Credit Bureau Ctr., LLC, 937 F.3d at 778–79.
 6         While Amy Travel permitted precisely the sort of overbroad relief that the FTC seeks
 7 here, just three months ago, the Seventh Circuit reversed itself in Fed. Trade Comm'n v.
 8 Credit Bureau Ctr., LLC, effectively overruling Amy Travel. After a lengthy discussion of
 9 Supreme Court cases postdating the Ninth Circuit’s Singer decision—including most
10 notably Meghrig v. KFC W., Inc., 516 U.S. 479 (1996)—the Seventh Circuit held that “[i]t
11 is now well settled that Congress, not the judiciary, controls the scope of remedial relief
12 when a statute provides a cause of action.” Credit Bureau Ctr., LLC, 937 F.3d at 782
13 (emphasis added). As a result, the court declined to permit equitable restitutionary relief
14 under Section 13(b) because the statue does not explicitly authorize it. Id. at 785. In doing
15 so, the Seventh Circuit held that “reading section 13(b) as authorizing only injunctive
16 relief—that is, reading it to mean what it plainly says—harmonizes Meghrig with [prior
17 Supreme Court precedent]. Id. (emphasis added).
18         The Seventh Circuit’s reasoning and reliance on the Supreme Court’s Meghrig
19 decision applies with equal force in this case, particularly in view of complementary Ninth
20 Circuit authority issued after Singer, as discussed below.
21 V.      Meghrig and Ninth Circuit authority confirm that Section 13(b) only permits
22         the limited form of injunctive relief explicitly authorized by the text of the
23         statute.
24         In Meghrig, the Supreme Court addressed whether the Resource Conservation and
25 Recovery Act of 1976 (RCRA) permitted the equitable remedy of restitution where the
26 governing statute limited equitable relief to a specific form of injunctive relief. The Court
27 held that broad equitable relief was not available, stating in relevant part that:
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 1                [T]he limited remedies described in § 6972(a) . . . amply
                  demonstrate that Congress did not intend for a private citizen to
 2
                  be able to undertake a cleanup and then proceed to recover its
 3                costs under RCRA . . . . “‘[I]t is an elemental canon of statutory
                  construction that where a statute expressly provides a particular
 4
                  remedy or remedies, a court must be chary of reading others
 5                into it.’”
 6
 7 Meghrig v. KFC W., Inc., 516 U.S. 479, 487–88 (1996) (emphasis added).
 8         Since Meghrig, the Supreme Court has adhered to this more limited understanding
 9 of judicially implied equitable remedies. Great-W. Life & Annuity Ins. Co. v. Knudson, 534
10 U.S. 204, 209 (2002) (“We have therefore been especially ‘reluctant to tamper with [the]
11 enforcement scheme’ embodied in the statute by extending remedies not specifically
12 authorized by its text.”); Miller v. French, 530 U.S. 327, 340 (2000) (concluding that the
13 plain meaning of a provision expressed the congressional intent to displace equitable
14 authority); see also Armstrong v. Exceptional Child Ctr., Inc., 135 S. Ct. 1378, 1385 (2015)
15 (holding that the Medicaid Act’s provision of a specific remedy and the judicially
16 unadministrable nature of the relevant statutory provision “preclude[d] the availability of
17 equitable relief” in section 30(A) of the statute); Gebser v. Lago Vista Indep. Sch. Dist., 524
18 U.S. 274, 284 (1998) (holding that courts cannot enlarge the “scope of available remedies”
19 under an implied right of action “in a manner at odds with the statutory structure and
20 purpose”).     Indeed, rather than presuming that Congress authorizes the judiciary to
21 supplement express statutory remedies, the Supreme Court now recognizes that “the
22 express provision of one method of enforcing a substantive rule suggests that Congress
23 intended to preclude others.” Armstrong, 135 S. Ct. at 1385 (emphasis added).
24         The analysis is no different in the Ninth Circuit since at least 2011, as shown by
25 Owner-Operator Indep. Drivers Ass’n, Inc. v. Swift Transp. Co. (AZ), 632 F.3d 1111 (9th
26 Cir. 2011). In Swift, the Ninth Circuit considered Department of Transportation (DOT)
27 regulations and a statutory remedy allowing injunctive relief, namely, 49 U.S.C. § 14704,
28 to address federal Truth-in-Leasing violations. Id. at 1113. The plaintiffs in that case

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 1 argued that section 14704(a)(1)’s provision authorizing the court to provide injunctive relief
 2 also permitted them to seek other forms of equitable relief, including restitution and
 3 disgorgement for defendant Swift’s past violation of Truth–in–Leasing regulations. Id. at
 4 1121. They contended that the district court erred in finding that the statute confined the
 5 court’s equitable powers to injunctive relief only. Id. The plaintiffs argued that courts
 6 always retain their full equitable powers, unless a statute expressly removes them. Id.
 7         The Ninth Circuit disagreed, explaining that applicable Supreme Court authority
 8 “contain[s] the caveat that ‘unless otherwise provided by statute,’ the court retains its full
 9 equitable powers.” Id. (emphasis added). “In this case,” the Ninth Circuit observed, “the
10 statute has done precisely that; it has provided a different scheme of enforcement, listing
11 only injunctive relief to the exclusion of other equitable remedies.” Id. (emphasis added).
12 The Ninth Circuit then quoted Meghrig, noting again that it “‘is an elemental canon of
13 statutory construction that where a statute expressly provides a particular remedy or
14 remedies, a court must be chary of reading others into it.’” Id. (quoting Meghrig v. KFC
15 Western, Inc., 516 U.S. 479, 488 (1996) as cited by Owner-Operator Indep. Drivers Ass'n,
16 Inc. v. Landstar Sys., Inc., 622 F.3d 1307, 1323-24 (11th Cir. 2010)).
17         Given the holdings in the Supreme Court’s Meghrig decision, the Ninth Circuit’s
18 Swift decision, and the Seventh Circuit’s Credit Bureau decision, it is clear that the FTC
19 can no longer rely on Section 13(b) for expansive equitable relief, such as asset freezes and
20 receiverships, because the statute limits equitable remedies solely to a particular form of
21 injunctive relief. Accordingly, the Court should not grant any form of equitable remedy not
22 explicitly authorized by the statute, which would include the remedies sought by the FTC
23 here.
24 VI.     The Court cannot issue an asset freeze for restitution or monetary damages, and
25         there is no basis for an asset freeze even if the FTC had the right to seek one.
26         The FTC asserts that “Defendants misrepresentations have caused more than $40
27 million in consumer injury” and seeks an asset freeze of Defendants’ assets. Memo 9:3–4;
28 OSC 8:18–23. The FTC also claims that “Section 13(b) provides this Court the basis to

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 1 order an asset freeze” and “[a]n asset freeze is appropriate once the Court determines that
 2 the FTC is likely to prevail on the merits and restitution would be an appropriate final
 3 remedy,” pointing to Singer and cases following that case for support. Memo 26:10–12
 4 fn.188. As discussed above, “section 13(b) does not authorize restitutionary relief.” Fed.
 5 Trade Comm'n v. Credit Bureau Ctr., LLC, 937 F.3d 764, 767 (7th Cir. 2019). Therefore,
 6 an asset freeze is impermissible as a matter of law.16
 7         Even assuming an asset freeze were available, however, the FTC has not met its high
 8 burden. First, there no evidence that Arete Individuals or Arete will likely dissipate assets.
 9 Second, the asset freeze is impermissibly overbroad.
10         A.     There is no evidence that the Arete Individuals will likely dissipate assets.
11         “A party seeking an asset freeze must show a likelihood of dissipation of the claimed
12 assets, or other inability to recover monetary damages, if relief is not granted.” Johnson v.
13 Couturier, 572 F.3d 1067, 1085 (9th Cir. 2009) (emphasis added).                Here, the FTC
14 erroneously states it has a lower burden of proof, claiming that a “mere ‘possibility’” of
15 dissipation is sufficient to obtain an asset freeze, citing FSLIC v. Sahni, 868 F.2d 1096,
16 1097 (9th Cir. 1989) for support. Johnson, however, explicitly overruled the lower standard
17 of Sahni. Johnson, 572 F.3d at1085 n.11.
18         With respect to the merits (or lack thereof), the case of F.T.C. v. John Beck Amazing
19 Profits, LLC, 2009 WL 7844076, at *1 (C.D. Cal. Nov. 17, 2009) is particularly instructive.
20 There, the FTC sought “an asset freeze directed against both the corporate Defendants and
21 the individual Defendants,” contending that “an asset freeze is necessary to prevent
22 dissipation of the individual Defendants’ assets, which may be needed to satisfy a potential
23
     16
24      Likewise, where damages have already been suffered, a court cannot issue a preliminary
     injunction to prevent defendant from transferring assets in which plaintiff claims no present
25   lien or interest. This is based on the traditional rule in equity that a judgment fixing the
26   amount of the debt is required before creditors can interfere with their debtors’ property.
     Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 319–20 (1999);
27   see also Dateline Exports, Inc. v. Basic Const., Inc., 306 F.3d 912, 914 (9th Cir. 2002) (“a
28   district court lacks authority to issue a preliminary injunction that freezes a debtor's assets
     in cases involving unsecured creditors”).
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 1 judgment of $300 million” (in contrast to the $40 million sought here) Id. at *15. The FTC
 2 argued that “because Defendants have committed fraudulent acts, Defendants will likely
 3 dissipate their assets to thwart potential collection activity”; therefore, “every available
 4 dollar should be preserved in order to satisfy Defendants’ potential liability of $300
 5 million.” Id.
 6         The court rejected the FTC’s argument. Applying the correct standard, i.e., Johnson,
 7 the court held that “there is no evidence that Defendants have ever previously attempted to
 8 intentionally dissipate, hide or otherwise shelter corporate or personal assets from an
 9 effort to collect a debt or judgment against Defendants.”            Id. (emphasis added).
10 Accordingly, the court found that “the FTC has failed to satisfy its burden of demonstrating
11 that an asset freeze is warranted.” Id.
12         The facts here are similar. There is no evidence that either the Arete Individuals or
13 Arete have “intentionally dissipate[d], hide or otherwise shelter[ed] corporate or personal
14 assets from an effort to collect a debt or judgment.” See id. Nevertheless, the FTC claims,
15 in a conclusory fashion, that an asset freeze is necessary because “Defendants’ operation is
16 premised on fraud.” Memo 28:1–2. As discussed above, the FTC has not presented any
17 evidence that Arete or the Arete Individuals are currently violating FTC regulations, let
18 alone committing “fraud,” which itself is high evidentiary threshold. Barnes & Noble, Inc.
19 v. LSI Corp., 849 F. Supp. 2d 925, 933–34 (N.D. Cal. 2012) (elements of fraud are: (1) a
20 misrepresentation; (2) knowledge of falsity; (3) intent to defraud; (4) justifiable reliance;
21 and (5) resulting damage”). Indeed, the FTC does not even allege a claim for fraud in its
22 complaint.
23         Accordingly, as in John Beck Amazing Profits, LLC, the FTC’s unsubstantiated
24 accusations of “fraud” and asset “dissipation” are insufficient to meet the high evidentiary
25 burden, particularly absent any evidence that either Arete Individuals or Arete have ever
26 attempted to hinder debt collection efforts.
27
28

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 1         B.     The asset freeze is overbroad.
 2         Asset freezes, to the extent they are granted, must be narrowly tailored. Consumer
 3 Fin. Prot. Bureau v. Morgan Drexen, Inc., 2016 WL 6542861, at *6 (C.D. Cal. May 17,
 4 2016) (issuing a “narrowly-tailored” asset freeze order); Neighborhood Assistance Corp. of
 5 Am. v. First One Lending Corp., WL 12113414, at *4 (C.D. Cal. Feb. 11, 2013) (narrowly
 6 tailoring asset freeze to allow for “normal living expenses and legal fees”); F.D.I.C. v.
 7 Garner, 125 F.3d 1272, 1276 (9th Cir. 1997) (“To ensure that the asset freeze was
 8 as narrow as possible, the court ordered the parties to negotiate the terms of the order and
 9 to set forth their respective positions on any provisions that could not be agreed upon.”).
10         Here, the FTC does attempt a narrowly tailored asset freeze, let alone address the
11 issue. The FTC’s request for injunctive relief is based entirely on alleged violations of
12 regulations relating to student loans. Memo 1:7–8 (“Defendants in this case prey on
13 borrowers struggling to repay their federal student loans”). As discussed above, Arete has
14 wound down its student loan services business by (1) completely shutting down its student
15 loan consulting business websites; (2) ceasing solicitation of those services; (3) cutting ties
16 with affiliates who directed student loan customers to it; and (4) laying off or retraining
17 employees to focus on the consumer debt side of the business. The only student loan debt
18 customers remaining are those who were signed up prior to the winding down of that
19 business by Arete in or around May 2019. Even the receiver has confirmed that, in or about
20 July 2019, Arete “shifted out of the student loan business . . . and [is] focused primarily on
21 the consumer debt settlement business . . . .” Hawbecker Decl. Ex. 1.
22         Similarly, Arete processes payments related to its student loan services through a
23 different system than the payments related to its debt settlement services. Nevertheless, the
24 FTC has sought, and obtained, an extraordinary broad freeze of all assets, including: “(1)
25 all Assets of Defendants as of the time Order is entered; and (2) Assets obtained by
26 Defendants after this Order is entered if those Assets are derived from any activity that is
27 the subject of the Complaint in this matter or that is prohibited by this Order.” OSC 8:18–
28 21. The asset freeze has effectively frozen all Arete’s and the Arete Individuals’ funds,

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 1 including funds related to its debt settlement business, irrespective of whether any of those
 2 assets have any relation to Arete’s now shuttered student loan business.
 3         The FTC’s request to maintain an extremely broad asset freeze is not (and does not
 4 attempt to be) narrowly tailored as required by law. Consequently, even if the FTC were
 5 permitted to seek an asset freeze (which it is not), the overbroad freeze it seeks to encumber
 6 assets for consumer debt settlement services (which is unrelated to student loans debt) and
 7 all of the assets of the Arete Individuals, is reason, in and of itself, to deny the request.
 8 VII. Even if Section 13(b) authorized the appointment of a receiver, the FTC cannot
 9         meet its extraordinary burden of showing that there is no less drastic remedy.
10         The FTC asserts that it “[a] temporary receiver is necessary to halt consumer injury
11 and to locate and preserve business assets and records.” Memo 28:5–6. The FTC cannot
12 seek a receiver here for these purported reasons or any other, both as a matter of law and
13 fact.
14         As discussed above, Section 13(b) does not permit equitable remedies aside from an
15 injunction. Even if receivers were permitted under Section 13(b), Federal Rule of Civil
16 Procedure 66 (“Rule 66”) would govern the appointment. Canada Life Assur. Co. v.
17 LaPeter, 563 F.3d 837, 842 (9th Cir. 2009) (Rule 66 applies “in an action where the
18 appointment of a receiver is sought,” given that “it specifically indicates a normative
19 standard for uniform administration of receiverships in accordance ‘with the historical
20 practice in federal courts’”).
21         In the Ninth Circuit, “[t]he appointment of a receiver is an equitable remedy that is
22 usually specifically sought by a person who has an interest in a property.” Solis v.
23 Matheson, 563 F.3d 425, 437 (9th Cir. 2009) (emphasis added). “A receivership may
24 interfere seriously with a defendant’s property rights by ousting him or her from control.”
25 Id. Therefore, “[t]he appointment of a receiver is considered to be an extraordinary remedy
26 that should be employed with the utmost caution and granted only in cases of clear necessity
27 to protect plaintiff’s interests in the property.” Id. (emphasis added).
28

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 1         “In general, a receiver should not be appointed without notice being given.” Id. at
 2 438 (emphasis added). “Receiverships are usually imposed for a judgment creditor only
 3 after a party has had an execution issued and returned unsatisfied.” Id. “In determining
 4 whether a receiver should be appointed, courts often consider the following factors: whether
 5 the defendant engaged in fraudulent conduct, whether an imminent danger of loss of
 6 property exists, the inadequacy of available legal remedies, and harm to the plaintiff if the
 7 request for a receivership is denied.” Id.
 8         Here, the FTC does not address Rule 66 or any of the criteria necessary to appoint a
 9 receiver. First, the FTC has no property interest in Arete (or any other defendant) and,
10 therefore, has no right to seek a receiver. Rather, the FTC is a regulatory body that has,
11 without notice, seized control of a private business through a receiver working on its behalf,
12 in contravention of the Constitution’s taking provision. Lingle v. Chevron U.S.A. Inc., 544
13 U.S. 528, 537 (2005) (“The paradigmatic taking requiring just compensation is a direct
14 government appropriation or physical invasion of private property.”); United States v.
15 Pewee Coal Co., 341 U.S. 114 (1951) (Government’s seizure and operation of a coal mine
16 to prevent a national strike of coal miners effected a taking); United States v. General
17 Motors Corp., 323 U.S. 373 (1945) (Government's occupation of private warehouse
18 effected a taking). The FTC’s lack of property interest is, in and of itself, a basis to deny a
19 receivership.
20         Second, the FTC has presented no evidence that there is no remedy less drastic than
21 a receivership. Semiserve, Inc. v. Semicon Servs., LLC,2015 WL 12914382, at *3 (C.D.
22 Cal. June 17, 2015) (“Receivership is a remedy of last resort; a receiver should not be
23 appointed if a less drastic remedy exists.”). There are far less drastic remedies than the
24 appointment of a receiver to obtain the information that the FTC seeks, namely, civil
25 discovery under the Federal Rules of Civil Procedure, which litigants use every day to
26 obtain information from each other. Even if the FTC could prove ongoing violations and
27 the threat of dissipation, the appointment of a monitor to oversee Arete’s business is a far
28 less drastic remedy to achieve the ends sought by the FTC (e.g., to enjoin future violations

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 1 and conserve company assets). What the FTC has instead done is cut off earnings from a
 2 legitimate consumer debt settlement business that could repay any damages for purported
 3 past violations to the extent they are later demonstrated as recoverable.
 4         Third, the FTC has presented no evidence that Arete Individuals or Arete have
 5 engaged in fraudulent conduct, that there is an imminent danger of loss of property, or that
 6 the FTC will be harmed if the request for a receivership is denied, all of which are factors
 7 courts consider before appointing a receiver.
 8         Fourth, there is no evidence that the receiver is equipped to run a business (Arete)
 9 employing over 150 people and servicing 7,700 customers that rely on Arete to assist them
10 with managing debt burdens. In addition to the Arete Individual’s livelihoods, both Arete’s
11 clients and its employees are jeopardized by the abrupt installation of a third party who has
12 no experience with Arete’s business and has effectively shut down the business.
13         Accordingly, the Court should not continue the appointment a receiver as to any of
14 the entities in which the holds no interest, but particularly not as to Arete, a going concern
15 that will be devasted absent stable leadership that understands how the company operates.
16 VIII. The Arete Individuals request that the Court extend time to respond to the OSC
17         and enlarge the 25-page brief limit to 30-pages.
18         The Court issued its OSC on November 4, 2019 and set a hearing for November 18.
19 OSC 29:14–19. The Arete Individuals were not served with the OSC, the FTC’s ex parte
20 papers, or any other pleadings until two days later, on November 6. The OSC provides that
21 a response to the OSC is due “no later than five (5) court days prior to the order to show
22 cause hearing” set for November 18. OSC 29:25–26 (emphasis in original). Thus,
23 responses were due on November 8—just two days after service of process and at a time
24 when the Arete Individuals were shut off from accessing Arete’s business records due to
25 the TRO.
26         The Arete Individuals request that (i) the Court extend the deadline by which to
27 respond to the OSC and deem this response timely and (ii) and enlarge the 25-page brief
28 limit to 30 day pages to allow the Arete Individuals a fair opportunity to respond to the

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 1 FTC’s 30-page Memo (which contains 212, often lengthily, single-spaced footnotes) . It is
 2 not clear why the FTC waited two days before serving the Arete Individuals. Nevertheless,
 3 they immediately sought to secure counsel and did so by Friday evening, on November 8,
 4 i.e., the day responses were due.
 5         It is not feasible for a party to secure counsel, marshal evidence, and respond to an
 6 oversized no-notice ex parte brief and voluminous exhibits within the span of two days,
 7 particularly after (a) the FTC seized Arete Individuals’ assets and (b) a receiver dramatically
 8 disrupted the Arete Individuals’ business. Given the circumstances, there is good cause to
 9 extend the Arete Individuals’ deadline to respond to the OSC and enlarge their brief page
10 limit to 30 pages, consistent with basic principles of due process and fair play. Mullane v.
11 Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950) (“An elementary and fundamental
12 requirement of due process in any proceeding which is to be accorded finality is notice
13 reasonably calculated, under all the circumstances, to apprise interested parties of the
14 pendency of the action and afford them an opportunity to present their objections.”).
15 IX.     Conclusion.
16         The Court should deny any form of equitable relief sought by the FTC, as discussed
17 above.
18   Dated: November 13, 2019                    BIENERT | KATZMAN PC
19
20                                               By:
                                                       Thomas H. Bienert, Jr.
21
                                                       Ariana Seldman Hawbecker
22                                                     Ali Matin
                                                       Attorneys for Defendants
23
                                                       Carey G. Howe, Ruddy Palacios,
24                                                     and Shunmin Hsu
25
26
27
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 1                            ARIANA SELDMAN HAWBECKER
 2         I, Ariana Seldman Hawbecker, declare as follows:
 3         1.     I am a partner at the law firm of Bienert | Katzman PC (the “Firm”), attorneys
 4 for Carey G. Howe, Ruddy Palacios, and Shunmin Hsu (the “Arete Individuals”). I am a
 5 member in good standing with the State Bar of California and am admitted to practice in
 6 the Courts of California, and the Central District of California. I have personal knowledge
 7 of the facts set forth in this declaration and if called as a witness could and would
 8 competently testify to such matters.
 9         2.     On November 8, 2019, the Arete Individuals retained our Firm. Later that
10 same day, we sent an email to attorneys for the FTC and the receiver, Thomas McNamara,
11 that stated, in relevant part: “We were retained this afternoon to represented Ruddy
12 Palacios, Shunmin Hsu and Carey Howe in association with a TRO and complaint served
13 on them on Wednesday. There are a few pressing issues that need to be addressed. First,
14 our clients are concerned about the ongoing operation of Arete Financial. Our preliminary
15 understanding is that around 90% of Arete’s business is associated with standard consumer
16 debt resettlement, not student loans and that, in fact, the company has no ongoing marketing
17 services related to that area. Therefore, our clients want to take steps to ensure the consumer
18 debt portion of the business continues because any disruption in its operations will
19 potentially result in the job losses of numerous employees. Moreover, consumers who rely
20 on the company to ensure that their debt workouts are maintained through the company’s
21 payment procedures may default with severe consequences.” We arranged a call for the
22 following day.
23         3.     During a call on November 10, 2019 with the FTC and the receiver, my partner
24 Tom Bienert and I explained that Arete ceased marketing its student loan services business
25 several months prior and that the company’s operations were focused on consumer debt
26 settlement. We further explained that Arete’s student loan revenues flowed through
27 different payment gateways, which would make it easy for the receiver to separate the
28 consumer debt business from its the student loan services business to allow the consumer

                                                   1
                        DECLARATION OF ARIANA SELDMAN HAWBECKER
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 1 debt portion of the business to run, keep its 150 employees employed, and not jeopardize
 2 the rights of its current customers.
 3         4.    The FTC declined our request to immediately restart Arete’s operations under
 4 the financial supervision of the receiver until the matter could be further considered by the
 5 Court. While the FTC and the receiver agreed to consider a request for the Arete Individuals
 6 to obtain access to records to prepare a response to the TRO and PI, the earliest date
 7 promised given the weekend and intervening holiday was November 12, 2019.
 8         5.    On November 12, 2019 at 7:17 p.m. the receiver sent the letter attached as
 9 Exhibit 1.
10         I declare under penalty of perjury under the laws of the United States that the
11 foregoing is true and correct.
12         Executed the 13th day of November 2019 at San Clemente, California.
13
14
15                                              _____________________________________
                                                Ariana Seldman
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                                                  2
                        DECLARATION OF ARIANA SELDMAN HAWBECKER
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                 EXHIBIT
                   “1”
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   November 12, 2019

       Stephen T. Fairchild                          Thomas H. Bienert, Jr.
       Richard McKewen                               Ariana Hawbecker
       Federal Trade Commission                      Bienert Katzman PC
       915 Second Ave., Suite 2896                   903 Calle Amanecer
       Seattle, WA 98174                             San Clemente, 92673 CA
       Attorneys for FTC                             Attorneys for Ruddy Palacios, Shunmin Hsu
       Via Email (sfairchild@ftc.gov;                and Carey Howe
       rmckewen@ftc.gov)                             Via Email (tbienert@bienertkatzman.com;
                                                     ahawbecker@bienertkatzman.com)

   Re:       Federal Trade Commission v. American Financial Support Services Inc., et al.
             U.S. District Court (C.D. Cal.) Case No. 8:19-cv-02109-JVS (ADSx)

   Dear Sirs/Madam:

   We expect to file our Preliminary Report with the Court this Thursday, November 14. I write to
   follow up on our recent telephone call regarding the operations of Receivership Entity Arete
   Financial Freedom. Defense counsel indicated that only 10% of Arete's revenue comes from
   student loan debt relief services and 90% from consumer debt settlement services.

   We have reviewed records and materials found on site at Dyer Road and the other three locations
   from which Defendants operated, Sky Park Circle, Irvine, Bolsa Ave., Huntington Beach, and
   Y gnacio Valley Road, Walnut Creek. We located ample evidence that Defendants operate a
   student loan debt relief operation through a common enterprise at four addresses, with
   interlocking ownership and funds flowing among various Receivership Entities. This student
   loan debt relief business was in operation at some level at all sites when we gained immediate
   access on Wednesday, November 6. 1

   In our first meeting that morning, Individual Defendants Hsu, Palacios and Carey Howe told us
   that Arete stopped emolling new student loan debt relief customers four months ago - though
   they noted Arete continued to receive customer payments for annual student debt loan




   1
    Our Preliminary Report will provide detail on what we found and the investigation we
  undertook.


                         655 West Broadway, Suite 1600, San Diego, CA 92101
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   Federal Trade Commission
   Bienert Katzman PC
   November 12, 2019
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   recertification services. 2 Our subsequent review of documents at the Dyer Road offices reveals
   that up until roughly July of2019, Arete was in both the student loan debt relief and consumer
   debt settlement business. At about that time, Arete shifted out of the student loan business
   operating at Dyer Road and focused primarily on the consumer debt settlement business at that
   location. 3 But that shift was incomplete4 and the debt settlement business has incorporated the
   cash flow and infrastructure of the Receivership Entities' common enterprise student loan debt
   relief business.

   Arete's shift to only consumer debt relief raises the question of whether my authority as Receiver
   extends beyond the student loan debt relief business to the consumer debt settlement business. I
   must conclude that it does not. I believe the TRO itself is limited to the student loan debt relief
   services. 5 Nevertheless, I am obligated by the TRO to preserve the assets and documents of
   Receivership Entities who have operated, and continue to operate, an unlawful student loan
   business as a common enterprise. 6 In order to fulfill my duties to take custody, control, and
   possession of Receivership Entities' assets and to preserve their value, I shall continue to
   maintain exclusive control of the Dyer Road site. As provided in the TRO (Section XII.Q), I will




   2
     They readily admitted that Arete was taking prohibited advance fees for their student loan debt
   relief services in violation of the Telemarketing Sales Rule.
   3
     Our Preliminary Report will elaborate on our due diligence steps we took to confirm the shift
   to consumer debt settlement business.
   4
     As noted above, and as will be detailed in our Preliminary Report, Arete continued to process
   recertification fees and applications for student loan customers from Suite 250 at Dyer Road.
   The common enterprise also continued their student loan operations from the other three sites -
   Arete was very interconnected to those operations.
   5
      See e.g., Finding of Fact B (TRO, page 1) recites the misrepresentations about the nature of the
   student loan debt relief services and the charging of unlawful upfront fees for their services.
   Finding of Fact C (TRO, page 2) includes an express finding that "the FTC has established a
   likelihood of success in showing that Defendants have made deceptive representations in the
   marketing and sale of student loan debt relief services and collected unlawful advance fees from
   consumers." The "Prohibited Business Activities" section (Section I, pages 5-6) identifies four
   specific misrepresentations as to consumer student loans and the requesting or receiving of
   advance fees.
   6
     Those duties include: taking exclusive custody, control, and possession of all Assets and
   Documents of any Receivership Entity (Section XII.B); conserve, hold, manage, and prevent the
   loss of all Assets of the Receivership Entities, and performing all acts necessary or advisable to
   preserve the value of those Assets (Section XII.D); and take all steps necessary to secure and
   take exclusive custody of each location from which the Receivership Entities operate their
   business (Section XII.H).
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   provide Defendants and their representatives reasonable access to the premises for the limited
   purpose to inspect and copy books, records, documents and other property.

   Very truly yours,)



   Thomas W. McNamara

   TWM:jej
